(b) Any such agreenyonts will not afféct the ee Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1999 or any other law, These righte
may include the: right to recelve certain disclosures, to rou and obtain cancellation of the
Mortgage Insurance, to have the Morlgage Insurance terminated automatically, and/or to recelve a
cone af any Mortgage Insurance premiums that were unearned at the time of euch cancellation or

ermination,

AL. Asalgnmient of: Miscellaneous Proceeds; Forfelture, All Miscellaneous Proceeds are hereby
assigned to aid shall be paid to Lender.

If the Property is ed, such Miscellaneous Proceeds shall be, applied to restoration or repair of
the Properly, if the restoration or repalr 1s economically feasible and Lender's security: 1s not lessened,
Durlng such repnir and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Eerider Tiss had an epee to inspect such Property to ensure the work bins been completed to
Lender's satisfaction, pro that suich jiwpeetion shall be undertaken promptly, Lender may pay far the

ts and testoration in a single disbursement or In a series of progress mentt as the work ts
conipleted. Unless an agreement made In wrlling or Applicable.Law requires nuurest td be pald on such
Miscellaneous Proceeds, Lendir shall not be rape to pay Borrower any interest or earnings on such
Miscellaneous Proceeds, Tf the restoration or repalr ia noteconomicully feasible or Lender’ 6 security would
be lessened, the Miscellanoous Proceeds shall be applied to the sums secured by Une Securlty Lnstrament,
whethar of not then due, with the exces, If any, paid to Borrower. Such Miscellancous. Proceeds shall be
applicd in the order provided for in Section 2.

in the event of # total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then. due, with
the excess, If any, paid to Borrower.

In the event of a partial, taking, destruction, or Joss in value of the Property In whieh the flr market
value of the Properly Immedlately before the mie taking, destruction, or loss in value. is i to or
greater twin the amount of the sums secured by this Securlty Instrument |mmedintely before the paral
taking, destruction, er loss fn’ value, unless Borrower and Lender otherwise. agree in writing, the surns
mee this Seourlly Iretrument shall be reduced by the amount of the Miscellaricous Procesds
mulliplied by the following fraction: (a) the total amount of the sums secured Immedlately before the
pare! at, destruction, or loss in value divided by (b)_ the falr market value of lhe Property
minediately before the partial taking, destruction, or logs in value. Any balance shall be paid to Borrower.

In th event of 0 pate taldng, deatruction, or loss In value of the Property In which the fair market
value of the Property Immediately before lve partial taking, destruction, or Joss In value iv less than the
amnount of the sums secured Immediately before the pial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the lv iscellancous Proceeds stuill be applied to the sum
secured e this seer Tnotrument whether or not the sums are then die.

If the Property 1a abandoned Borrowor, or If, afler notice: by Lender to Borrower that the
Opposing Party (es defined in the t sentence) offers to make on award to, geltle 0. claim for damages,
Borrower faila to respond to Leniler within 30 days after the date the notice 1s giver, Lendar (a author ved
to collect anc apply ihe Miscellaneous Proceeds elthet to reatoration or repat of the Property or to the
sma secured by. Ils Security Instrument, whether or not then dues “Opposing Party’ means the third party:
that owes Borrower Miscellaneous Proceeds or the purty against whom Borrower has a right of action in
ragardl lo Miscellaneous Proceeds,

Bortower shall be In default if any action or roceeding, whether elvil.or criminal, is begun that, fh
Lender's judgment, could result 0 forfeiture of the Property or other material impairment of Lender's
interest in the Properly or righls under this Securlty Instrument. Borrower con cure such a default arvl,, if
acceleration has oecurred, reinstate as provided in Section 19, by causing Hie actor or proceeding to be
dismissed with a rullng thal, Ini Lender's judgment, ecluiles forfelture of the Property or other materlal
{impairment of Lender's Interest in the Property oF ghis wider this Security Instrument. ‘The proceeds of
any award or clatm for damages that are a¢trfbutable to the impairment of Lender's Interest in the Property
aré hereby: assigned ancl shall d to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be

applied in the order: provided for In Section 2.

indtate:

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BOOK 9125PacE 543

 

EXHIBIT “A”

 

 

 

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12, Borrower Not Released; Forbearance By Lender Not a Waiver, Extension of the me for
ent or modification of anynrtization of the sums secured by this Securily Instrument ranted by Lendar
Borrower ar any Successor in Interest of Borrower shall not operate to relense the liability of Borrower
or any Successors in Interest of Borrower, Lender shall not be required to commence proceedings against
any Successor in Interest of Dorower or to refuse to extend tinie for ae or otherwiee modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Sticcessors In Interest of Borrower, Any forbearance by Lender in exercising any rlght or
remedy inéluding, without limitation, Lender's neous of payments From third persons, entities or
Successors in Interest of Borrower or in amounts eas thun'the amount then due, shall nat be a walver of or

Iyide the axercive of any a or remedy,

13, Joint and Several Linbility; Go-sieness Buccessors and Assigns Bound. Borrower covenants
and agrees that Borrower's obligations and Iu! lity shall be joint and several. However, any Bortower who
co-signs Us Securlty Instrument but does ‘not execute the Note (a "co-signer"): (a) is co-slgning ‘this
Security Instrument only () mortgage, grant and convey the co-signer's Interest In the PoE urider the
terms of this Security Instrument; é is not personally obligated to pay the sums secured by this Security
fiutrumerié and {c) agrees that Lender and any other Borrower cay agree to extend, fy, forbear or
nuke any accommodations with regard to the terms of this Securlly Instrument or the Note without the
co-signer's consent,

subject to the provisions of Section 18, any Successor In Interest of Borrower who assumes
Borrower's obligations under this poets Instrument In writing, and is approved Lender, shall obtain
all of Borrower's rights anc beneflis sy (his Security Instrument, Borrower shal not be released fiom
Borrower's obligations and liability under this Securlty Instrument unless Lender to guch release tn
writing, The covenants and ngreaments: of this Security Instrument shall bind (except as provided: tn
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges, Lender may ee Borrower fees for services pero’ fn connection with
Borrower's default, for the purpose of ting Lender's interest In the Property and rights under this
Security Instrument, Including, but not imited fo, attorneys’ fees, poe, inspection and valuation fees,
In regard to any olher fees, the absence of express authority in this Security Instrument to charge a specific
fee (a Borrower stull not be construed ns a prohibition on the charging of such fee, Lender may not charge
feos Uhut are expressly prohibited by this Securlty Instrument or by Applicable Law,

If tho Loan Is subject to a law which sels nvextnum loan charges, and that law is finally Interpreted 80
that the interest or other loan charges-collected or to be collected In connection with the Loan exe

itted limits, then: (a): any such loan charge shall be-reduced by the amount necessary to reduce the
perm y 1 charg
charge to the permitted limit; nnd (b) any sums already collected from Borrower which exceeded permitted
jimits will be refunded to Borrower. Lender may choose to make this refund by reducing the percipy
owed under the Note or by making a direct payment to Borrower. If a refund rexluces ipal, the
reduction will be treated as a partial prepayment without any prepayment charge f or not 0
prepayment charge 1 provided for unser the Note), Borrower's meine of any such refund made by
a ype ig DSHONSt will const{hite a walyer of any right of achan Borrower might have culsing out
of such overcharge.

15. Notices, All notices given by Borrower or Lender in-connection with this Security Instrument
must be In welling, Any notice to Borrower in connection with tig Securlly Instrument shall deemed to
have been given to Borrower when mailed a class mail or when actually: delivered to Borrower's
notive address if sent by other means, Notice to any one Borrower shall corwtilute notice to all Borrowers
unless Applicable Law: expressly requires otherwise, ‘The notice address shall be the Proper Address
unless Borrower has designated a substitute notice addresw by notice to Lerler. Borrower shall promptly
nolify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified poet.
There may. be only. one designated notice address uncer this Security Ingtrument at mei one time, Any
notice to Lender shall page by delivering It or by, mailing It by first class mail to Lender's adress
stated herein unless Lender has designated another address by notice to Borrower. Any notice In
connection with this Security Instrument shall not be deemed to fave been given to Lenider until actually
received by Lender. If any notice required by this Securlly Instrument Is ato required undur Applicable
Law, the Applicable Law requirement will sausfy the corresponding requirement under (his Security

Tngtrument,
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BOOK 9125 pace 514

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‘16, Governie Law; ere Rules of Construction, This Security Instrument shall be
governed by federal lnw and the law of the furisdiction In which the Property ta located. All rights and
obligations contained in this Security Invitrument are ent to nny requirements and limitations of
Applicable Law, Applicable Law ml exe implicilly allow the parties to agree contract or It

be silent, but such silence not be construed ara prohibition against agreement by contract. In
the event that ary provision or clause of thig oe Ingtrument or the Note conflicy with Applicable
Law, such conflict shall not affect other poenae of this Security Instrument or the Note which can be
given effect without the conflicing provision,

As used in this Gecurlty [natrument: (y ‘wort of tie masculine gerider shall mean ond Include
corresponding neuter words or words of the feminine gender; (b) words In the singular shall mean and
a the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to

any action,

19, orrower's Copy, Borrower shall be given one copy of the Note and of this Security Instrument,

4A. Transfer of the Property or a Beneflclal Interest In Borrawer. As used in this Section 18,
“Interest in the Property’ mears any legal or beneficial interest ny the Property, including, but not limited
o, Uhoge beneficlal interests transferred Ino bond for deed, contract for deed, installment sales contract or
escrow a it, the Intent of which [s the transfer of title by Borrower al a future date to a purchaser,

If all or any part of the Property or any Intorest {n the see is-sold or transferred (or if Borrower
ta not a natural person and o beneficial Inlerest in Borrower ia sold or transferred) without Lender's prlor
wrltient consent, Lender may require Immediate’ payment in full of all sums secured by thls Securlty
Auplteabl ae eorey this option shall not be exercised by Lender if sucly exercise is prohibited by

(pplicable Law. ‘
1f Lender exercises this option, Lender shall give Borrower notice’of accelévatlon The notice shall
ide a period of not less than 30 days from the date the notice In given In accordance with Section 15
vithin which Borrower must pay all sims socured by this Security Instrumwnt, Lf Borrower fails to pay:
these suims prior to the expiration of this perlod, Lender may frwoke any femedies permitted by this
Security Instrument without further notice or demand on Borrower,

19, Borrower's Right to Relnstate After Acceleration. If Borrower meets certain conditions,

Borrower shall have the right to have enforcement of this Security Instrument discontinued at ay. time

riot lo lw earllest of: (0) fivo days before sale of the Property puriuanit to Section 22 of this Security
nstrument; (b) such other perlod as Applicable Law might specify for the termination of Borrower! 9 right
to reinstate; or (c) entry Of a Judgment enforcing Security Instrument. Those conditions are Put
Dorrowert (a Sieods all sims which then would be dus under this Security Instrument atv the Note
us if no acceleration had occurred; (b) cures any default of y other covenants Or agreements; (c) pays all
vepenses Incurred in enforcing this Security Instrument, including, but not Hmited to, reasonable atlorneys'
fees, property Inspection and valuation fees, andother fees incurred for the purpose of protecting Lender's
interest In He Property and rights under this Security Instrument, and (d) takes such actlon as Lender may
reasonably require ta assure that Lender's interest in the Property and rights under this Security,
Instrument, and Borrower's obligation lo pay the sums secured by this Security Instrument, shall continve
unchanged. Lender may require that Borrower pay such reinstalement sunt 4 oe in one or more of
the following forms, as selected by Lender: (a) cash, (b) money order; (¢) certified cheek, bank check,
treasurer'y check or cashier's check, provided oy guch check is drawn ue an Ingtitullon whose dopeatle
are ingured by n federal agency, Instrumentaltty or antity, oF (d) Hlectronic Munds ‘fronsfer, Upon
reinstatement by Borrower, this Securlty Irutrument and obligations secured hereby shall remain fully
effective ag If no acceleration had occurred, However, this right to reinstate ahall not apply in the case 0
acceleration under Section 18. /

20, Sale of Note; Change of Loan Servicer; Notice of Grievance, ‘Thy Note or a partial interest In
the Note (together with) this Security Instrument) canbe wold one or more times without prior notice to
Borrower. A sole might result Iya change in ihe entity (known a5 the “Loan Servicer’) that collects
Periodic Payments due under the Note. and this Security Tnatrument and performs olher mortgage loan
servicing obligations under the Note, this Securlty Instrument, and Applicable Law, There olso-might be
one or more changes of the Loan Servicer tinrelated to a sale of the Note, If there tsa change cof the Loan
Servicer, Borrower will be given wrilten notice of usa teat which Will state the name ancl address of the
new Loin Servicer, the address to which payments should be made and any other information RESPA

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Zp, (KS) 0202) Page } 1 of 38 Me Form 3017, LAL

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requires in connection with a notica of transfer of servicing. If the Note is sold and thereafter the Loan is
nerviced by n Loan Setyicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with tha Loan Servicer or be transferred to a successor Loan Servicer and are not

assured by the Note purchaser unlesa otherwise provided by the Note purchaser,
Neither Borrower nor Lander may commence, join, or be joined to any judicial action (as either an

individual litigant or the member of a class) that arises from the other party's actions pursuant to this
Sectirity Instrument or that alleges that the other party has breached any provision of, or any duty owed by
reat of, this Securlly Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period afler the giving of such notice to take corrective wclon, Lf
Applicable Law provides a time perlod which must ¢lapse before certain action can be taken, that Ume
pertod will be deemed to be reasonable for purposes of this paragraph: ‘The notice of acceleration ancl
opportunlty to cure given lo Borrower porsuant to Section 22 and the natlte of acceleration given to
Borrower pursnant to Section 18 shall be deemed to satisfy the notice and opportunity to take correctve
action provisions of this Section 20.

21. Hazardous Substances, Ag used in thle Section 21: (a) "Hazardous Substances’ are those

subslances defined :as toxic or hazardous substances, pollutants, or wastes by Environmental Law aru the
following substances: gasoline, kerosene, other flammable ar texte petroleum products, toxic pesticides
and herbicides, volatile solvents, materlals containing asbustos or formaldehyde, and radioactive materials;
(b) "Rnvironmental Law" means federa) laws and lnws of he jurisdiction where the Property Is locates that
relove to health, safety or environmental protection; (c) "Tnvironmental Cleanup" Includes any resporsic
action, remedial action, or removal ection, a9 deflned in Bivironmental Law: and (d) an "Environmental
Condition" means a condition that can cause, contribute to, or otherwise (rigger an Environmental
Cleanup.
Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Slibstances, or threaten to release any Hazardous Substances, on or In the Property, Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Bnvironmental Conditicny, or (¢) which, due tothe presence, use, or release ofa
Hevardous Substance, creates a condition that adversely affects the vali of the Property. The preceding.
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential ses and to
maintenance of the Property (including, but not limited to, hozarcloud substances in consumer products),

Borrower shal] promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency oF private party. Involving the Property and any
Hazardous Substance of Pnvironmental Law of which Borrowor has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, Joaking, discharge, release or Lhreat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affecta the value of the Praperty. If Dorrower learns, or I notified
by any governmental or regulutory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property iy necessary, Borrower shall promptly take all necessary
remedial actiond in accordance with Rivironmental Law, Nothing herein shall create any obligation on
Lender for an Environmental Cleanup,

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree ag follows:

22. Acceleration; Remedies, Lender shail give notice to Borrower prior to acceleration following,
Borrower's breach of any covenant of agreement [nt this Security Instrument (bul not pélor lo
acceleration under Section 18 unless Applicable Law provides otherwise), ‘The notice shall specify: (4)
the default; (b) the actlon required to cure the default: (c) a date, not less than 30 daya from the date
the notlee fs given to Vorrower, by witloh the default must be.cured; and (d) that failure to cure the
defnult-on or before the date speelfied In the notice may result in acceleration of the sume secured by
this Security Instrument, foreclosure by Judiclal proceeding and sale of the Property, 'The notlee shall
further Inform Borrower of the right (o reinstate after neceleration and the right to assert in the
foreclosure proceeding the non-extatence of a default or any other defense of Borrower lo acceleration
and foreclosure, [f the default is not cured on or before the date specified In the notte, Lender at tts
option may require Immediate payment in full of all sums sccured by this Security Instrument
without further demand and may foreclose this Security Instrument by judlelal proceeding. Lender
shall beentitled to collect all expenses Incurred in pursuing the remedies provided in thls Sectlon 22,
including, but not limited to, costs of title evidence,

Lendér shall he entitled to collect all reasonable expenses incurred in pursuing the remedies
provided in this Section 22, including, but not limited to, reasonable attorneys! fees, to the extent
allowed by Applicable Law.

23, Release. Upon payment of all sums secured by’this Security Instrument, Lender shall release this
Security Instrument. Lender may charge Borrower a fee for releasing this Security Instrument, but only If
the fee [a paid to a third party for services rendered and the charging of the fee ix permitted under

Applicable Law.
24, Waiver of Redemption. Borrower waives all rights of redemption to the extent allowed by law.

23, Consumer Credit Cote, If Lender has signed In the space that follows, Lender and
Borrower agroe thal the laan secured by this Morigege shail ba pubeRt to the Kansas Uniform
Consumer Credit Gode, and that the rates of the K.S.A, 1Ga-2-401 apply:

_Kiarrnff, Henllbe

 

AmerUe Home Leuding, Ino. [Name]
Randy Honkle Senior Vice President {Name} (for Lender).
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Form 3017 1A1

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BY SIGNING BELOW, ;Borrower accepts andiagrets to the terms and covenants contained In this
Security Instrument and in any Ricler executed by! ‘Boktowar'and recorded with It

 

 

 

 

 

 

 

Witnesses:
ee Pune “ Stn ie
MARK H BNGEN Borrower
————————— ~ Wusxon “Ce Ciel A—— ma
MAUREEN FE. ENQEN’ -Borrower
(Beal) (Seal)
Borrower ~Borrower
(Beal) a reneiegee nr . (Seal)
-Borrower Borrower
(Seal) (Seal)
Borrower “Borrower
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Ey KS) (0202 Page 14 Of A Form 3017 141

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STATE OF KANSAS, ek esas

County 98
BE IT REMEMBERED, that on this [3 _ day of ‘elas "CaaS ,
before me, the undersigned, a Notary Public in ind for the County and State aforesaid, personally appeared
MARK M ENGEN and MAUREEN EB ENGEN = fui siy eb enh

t
to nw personally known to be’ the game person(s), who executed the above and foragoing Instrument of
wriling, ard duly acknowledged the execution of aame,

IN WITNESS WHEREOP, | have hereunto set my hand and Notarial Seal on oP and year last

above written.
My Comunission Expires: J A
1
Notary Public os ‘
\ NICs

  

 

 

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J, ELLIS ( ——
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By 61K8) 200 page 18 of 15 form 8037 101

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Mat L Cavir TINO OEE OUI

nies a zoe Pf GOHNaG

Joharon Ca AGG

ASSIGNMENT OF MORTGAGE

KNOW ALL MEN BY THESE PRESENTS That AmerUs Home Lending, Ing. FKA
AmerUs Home Equity, Ina,

the Mortgages In a certain mortgage, dated the 13th day of June , 2003 ;
exeouted by MARK H BNGBEN and NAUREEN & ENGEN

» and

duly filed for record in the Office of the Reglater of Deeds of JOHNSON
County, Kansas, on the 20th day of June , 2003 , duly recorded as
Instrument No, 3651271 , In Book 9125 at Page 505 7
described as LOT 13, BLOCK 10, SYLVAN GROVE, A SUBDIVISION IN THE CITY OF

OVERLAND PARK, JOHNSON COUNTY, KANGAS.

in consideration of the sum of One Hundred Highty-two Thousand And 00/100
($ 1e2,000,00 )

to them in hand paid, the receipt of which is herchy acknowledged, does hereby sell, assign, transfer, set
over, and convey lo Ma@Z Bank PBB 4121 NW Urbandale Drive Urbandale, TA

80322-7928

its suscessora, and assigns, sald-mmortgage,: the real catate conveyed, and the Promissory Note, debts, and
claima:thereby secured, and covenants thernin contained:

Kaneap Agsignment of Mortgegs $4103
Ep-805(Ks) (oss)

Page ! of 2
VMP Wongage Bolulions (800)021-7201

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TO HAVE AND TO HOLD THE SAME, forever; subject, nevertheless, to the conditlona therein

contained.

IN WITNESS WHEREOP, the AmerUs Home Lending, Inc. FKA AmerUs Home

Equity, tno,

Kes:caused this instrument to be signed by {ts Vice Presidant

Witness

lat day of Septamber

ATTEST;

Rodel Tuazon
Witness

Prepared By: Andrea Mulcahy

and attested by its
and Its corporate seal to be affixed hereto thia

» 2004 ,AD,

5 ; Home ual Inc. FKA AmerUa

   

4121 NW Urbandale Drive Urbandale, LA

§0322-7928
(513) 281-2100

State of lowa
County of Polk

This tustrument way.deknowledged before me.on 09/01/2004 by Shawna. Pritchard as Vice President
and Rodel Tuazon as Witness of AmarUs. Home Lending, Ine, FKA AmerUs Home Equity, Ino,

    
  
  

JOYGE JESSEN

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April 29, &

  

p96 (Ka) ain)

Joyce Jessen

Page 2 of & 141/08

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danasun Go ROD. ih 2on4a0p. #0094.

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Association (formerly named Harris National Association), a national banking association

organized and existing under the laws of the United States (“BMO Harris Bank”), hereby certily

that:

 

BMO HARRIS BANK NATIONAL ASSOCIATION

Secratary's Certiticalion of Consummation of Merger Transactions and Change of Title

I, Gina M, McBride, Assistant Secretary of BMO Harris Bank National

(a) Effective on July 5, 2011, The Harris Bank National Association, a
national banking association organized and existing under the laws of the United
States (*THBNA”), merged with and into BMO Harris Bank with BMO Harris Bank
as the surviving institution pursuant to an Agreement and Plan of Merger between

THBNA and BMO Harris Bank;

(b) Effective on July 5, 2011, M&I Marshall & Ilsley Bank, a Wisconsin
chartered state bank (“M&I Bank”), merged with and into BMO Harris Bank with
BMO Harris Bank as the surviving institution pursuant to an Agreement and Plan of
Merger between M&I Bank and BMO Harris Bank;

(c) Effective on July 5, 2011, M&I Bank National Association, a
national banking association resulting from the conversion on July 5, 201] of M&I
Bank FSB (a federal savings bank) into a national banking association (““M&INA”)
pursuant to the laws of the United States, merged with and into BMO Harris Bank
with BMO Harris Bank as the surviving institution pursuant to an Agreement and
Plan of Merger between M&INA and BMO Harris Bank;

(d) The merger transactions referred 10 in (a), (b) and (c) above were
duly authorized and approved by the applicable board of directors and sole
shareholder of each of BMO Harris Bank, THBNA, M&I Bank and M&INA; and

(e) Effective on July 5, 2011 following the mergers referred to in (a), (b)
and (c) above, BMO Harris Bank adopted a Third Amended and Restated Articles of
Association pursuant to which its corporate title was changed from “Harris National
Association” to “BMO Harris Bank Nationa! Association”.

[Signature Page Follows]

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BMO © | A part of BMO Financlal Group

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Midis a branch of and a tiade nome used by UfQ Harris Bank HA
IN WITNESS WHEREOF, | have hereunto signed my name.

Name: Gink Ufa ride

Title: Assistant Secretary

Dated: July 7, 2011

    

[Signature Page to Secretary's Certification of Consummation of Merger Transactions and
Change of Title]

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